                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION
                             NO. 5:20-CR-00006-D

UNITED STATES OF AMERICA

              v.

QUENTIN MOSES

                               ORDER OF FORFEITURE

      WHEREAS, pursuant to the entry of a Memorandum of Plea Agreement by the

defendant on January 7, 2020, and further evidence of record as presented by the

Government, the Court finds that the following property is hereby forfeitable

pursuant to 21 U.S.C. § 853 and 18 U.S.C. § 924(d)(l), the latter as made applicable

to this proceeding by virtue of 28 U.S.C. § 2461(c), to wit:

      a) A Glock Model 23 .40 caliber pistol, bearing serial number BALV745, and

      b) Any and all related ammunition;

      AND WHEREAS, by virtue of said Memorandum of Plea Agreement, the

United States is now entitled to possession of said personal property, pursuant to

Fed. R. Crim. P. 32.2(b)(3);

      It is hereby ORDERED, ADJUDGED and DECREED:

      1.    That based upon the Memorandum of Plea Agreement as to the defendant,

the United States is hereby authorized to seize the above-stated personal property,

and it is hereby forfeited to the United States for disposition in accordance with the

law, including destruction, as allowed by Fed. R. Crim. P. 32.2(b)(3). In accordance

                                            1




           Case 5:20-cr-00006-D Document 41 Filed 10/19/20 Page 1 of 2
with Fed. R. Crim. P. 32.2(b)(4)(A), this Order shall be final as to the defendant upon

entry.

         2.    That upon sentencing and issuance of the Judgment and Commitment

Order, the Clerk of Court is directed to incorporate a reference to this Order of

Forfeiture in the applicable section of the Judgment, as required by Fed. R. Crim. P.

32.2(b)(4)(B).

         SO ORDERED. This _Jj_ day of      Or.fo ~         , 2020.




                                  United States District Judge




                                           2




              Case 5:20-cr-00006-D Document 41 Filed 10/19/20 Page 2 of 2
